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UN|TED STATES DlSTFl|CT COURT

wEsTERN DlsTRlcT 0F TENNESSEE F"-E° BY __C% m

MEMPH|S DlVlSlON

UN|TED STATES OF AMER|CA

THOlMSM.
_v- 05-20105-01-Ma a%lé§95955§5w

CHRlSTOPHER HOLLEY
Arthur ulnn A
Defense Attorney
1661 international P|ace Drive, Suite
300
Memphis, Tennessee 38120

 

JUDGN|ENT |N A CFl|MlNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count1 of the information on March 30, 2005. Accordingly, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section ML!§__¢M Offense Number(sj
M_d
18 U.S.C. § 1029(a)(1) Trafficking in counterfeit devices 05/01/2002 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentenoing Fieform Act of 1984 and the Mandatory
Viotims Restltution Act of 1996.

indictment # 04-20465-01-Ma is dismissed on the motion of the United States.

IT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all finesl restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/09/1975 July 01, 2005
Deft’s U.S. Marsha| No.: 18349-076

Defendant’s Residence Address:
4180 Fredricks Avenue
Memphis, TN 38111

y ///“'L__

SANIUEL H. MAYS, JF'l.
UN!TED STATES DISTR|CT JUDGE

This dochent entered on the dockets t fn complian Ju[y-_H t 2005
wlth little 55 and/er 32!bl FHCrP on __A|le -' d 2 "( §§

 

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Defendant Name: Christopher Ho||ey Page 2 of 4

PROBAT|ON

The defendant is hereby placed on probation for a term of two (2) years, which shall
run consecutive to the sentence defendant is currently serving.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). if this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDAFlD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10.

11.

12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution iri accordance With the Scheduie of Payments set
forth in the Crimina| N|onetary Pena|ties sheet of this judgment

ADD|T|ONAL CONDlT|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1.

The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or
alcohol dependency which may include testing for the detection of substance use or
abuse. Further, the defendant shall be required to contribute to the costs of services
for such treatment not to exceed an amount determined reasonable by the Probation
Officer.

Defendant shall participate as directed in a program of mental health treatment
approved by the Probation Officer. Further, the defendant shall be required to
contribute to the costs of services for such treatment not to exceed an amount
determined reasonable by the Probation Officer_

The defendant shall not possess firearms, ammunition or any other dangerous
weapons or explosive devices.

The defendant shall seek and maintain lawful fult-time employment

The defendant shall cooperate in the collection of DNA as directed by the probation
offioe.

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CR|N||NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Fiestitution
$100.00

The Special Assessment shall be due immediately

F|NE
No fine imposed

REST|TUTlON
No Restitution was ordered.

   

UNITED sTTES DISTRICT OURT - WERSTE D"ITRCIT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20105 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

Arthur E. Quinn

THE BOGATIN LAW FIRM
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1\/lemphis7 TN 38120

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

